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August 3, 2020 3:55 PM

; U.S. DISTRICT COURT
™ G ma i| WESTERN DISTRICT OF MICHIGAN Delomd Marshall <delmondfufp@gmail.com>
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United States District Court For the Western District of Michigan Federal Lawsuit

 

 

1 message 1:20-cv-722

etree Robert J. Jonker

Delmon Marshall <delmondfufp@gmail.com> coke ene Fri, Jul 24, 2020 at 2:07 PM
To: Delomd Marshall <delmondfufp@gmail.com> United States Magistrate Judge

United States District Court For the Western District of Michigan Federal Lawsuit against 1. Nick george, owner

of Nick George properties 8313 Holly Rd, Grand Blanc, MI 48439 (810) 695-7500 Joshua Warren & his Brother in

Law , 2.His Secretary Karen, 3.The City of Grand Blanc, Michigan- 203 E Grand Blanc Rd, Grand Blanc, MI 48439

4.Grand Blanc Township Police Officers 4A. Ryhs, 5A.Officer Brady Harner, 6A.Detective Jason Whittey, 7A.Sgt.

Marcus Ferguson & 8A.Chief of Police Ron Wiles- 9. Grand Blanc Township Police Department 5405 Saginaw Rd,

Flint, Ml 48507 that employee them. 10. Bill Delzer, the guy Ron Giles "claimed" was the DA over this matter & he

WAS NOT. 11. Grand Blanc Mayor Susan J. Soderstrom 203 E Grand Blanc Rd, Grand Blanc, MI 48439

12. United States Attorneys Office Flint Branch 210 Federal Building 600 Church Street Flint, Ml 48502 Telephone:

(810) 766-5177 13. Michigan Department of Civil Rights Agency Detroit Service Center - Cadillac Place 3054 West

Grand Boulevard, Suite 3-600 Detroit, Ml 48202 Phone: 313-456-3700 Fax: 313-456-3701
MDCRServiceCenter@michigan.gov 14. Civil Rights Investigator Jarrett Smith employee of the Michigan___
Department of Civil Rights Detroit Service Center - Cadillac Place 3054 West Grand Boulevard, Suite 3-600

Detroit, MI 48202 Phone: 313-456-3700 Fax: 313-456-3701 MDCRServiceCenter@michigan.gov 15. United States
Attorneys Office c/o Criminal Department c/o Mr. Matthew Schneider, Suite 2001 Detroit, MI 48226, 211 W. Fort

Street, Suite 2001 Detroit, Ml 48226 16. Civil Rights Department Division Suite 2001 Detroit, MI 48226, 211 W. Fort

Street, Suite 2001 Detroit, Ml 48226 17. Genesee County Prosecutor's Office c/o Mr. David Leyton 900 Saginaw

St # 100, Flint, Ml 48502, 18. Former Michigan Attorney General Bill William Duncan Schuette- the one that run for
Governor of Michigan & LOST in 2018. 19. Michigan Attorney General Civil Rights Division Chief Ron D.

Robinson 20. Michigan US Congressman Rep Dan Kildee 5th District- Flint Office 601 South Saginaw St., Suite /-,
403 Flint, MI 48502 Phone: 810-238-8627 Fax: 810-238-8658 21. Michigan Attorney General Dana Nessell © C7, wh YM

| am Indigent, and still a citizen of the state of Michigan & I'm filing this Motion Pro sé. With my bank statement
showing my Personal account balance at 12 dollars 52 cents, and thus, although Fean attord the filing cause, it should
be waived due to the Public Corruption of Michigan Government employees. In this Federal civil Lawsuit, | will show how
corrupt Michigan Police & the Attorneys for the State can be in disregarding the rights of a Black man, who appears to
have no rights at my home, so Civil court is where | need all the mentioned people in this matter to address their illegal
actions committed while in uniform for the Grand Blanc Police & other Michigan officials from the state to the local level.
The FBI Public Corruptions investigation office need to be alerted to the actions on record in this case. The above
mentioned individuals named in this lawsuit violated my state, civil & federal rights for Racial Discrimination, Harassment
& Violations of my state, Federal & Civil rights guaranteed to all citizens of Michigan & the Constitution of the United
States. The reason for this Lawsuit is the many federal laws these people's actions violated. I'm listing the most
Important 14 below.

1. 18 U.S. Code § 4 - Misprision of felony: Whoever, having knowledge of the actual commission of a felony
cognizable by a court of the United States, conceals and does not as soon as possible make known the same to some
judge or other person in civil or military authority under the United States, shall be fined under this title or imprisoned not
more than three years, or both.is & how it applies to this case. 2. U.S. Code § 371.Conspiracy Statute If two or more
persons conspire either to commit any offense against the United States, or to defraud the United States, or any agency
thereof in any manner or for any purpose. 3.U.S. Code § 241.Conspiracy against rights &

4. U.S, Code § 242. Deprivation of rights under color of law Section 242 of Title 18 makes it a crime for a person
acting under color of any law to willfully deprive a person of a right or privilege protected by the Constitution or
laws of the United States. "Color of law" include acts not only done by federal, state, or local officials within the their
lawful authority, but also acts done beyond the bounds of that official's lawful authority, if the acts are done while the
official is purporting to or pretending to act in the performance of his/her official duties. Persons acting under color of law
within the meaning of this statute include police officers, prisons guards and other law enforcement officials, as well as
judges It is not necessary that the crime be motivated by animus toward the race, color, religion, sex, handicap, familial
status or national origin of the victim. Heres the part | like: "The offense is punishable by a range of imprisonment up to a
life term, or the death- End Quote

5. 18 US Code 245 :Violent Interference with Federally Protected Rights: This statute makes it a crime to use or
threaten to use force to willfully interfere with any person because of race, color, religion, or national origin and because
the person is participating in a federally protected activity, such as public education, employment, jury service, travel, or
the enjoyment of public accommodations, or helping another person to do so

6. U.S. Code § 249. (a)In General.(1)Offenses involving actual or perceived race, color, religion, or national origin.—
Whoever, whether or not acting under color of law, willfully causes bodily injury to any person or, through the use of fire, a

https://mail.google.com/mail/u/07ik=0b584d92b7 &view=pt&search=all&permthid=thread-a%3Ar14540 197 14796650846&simpl=msg-a%3Ar-3105166... 1/16
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firearm, a dangerous weapon, or an explosive or incendiary device, attempts to cause bodily injury to any person,
because of the actual or perceived race, color, religion, or national origin of any person.
7. Obstruction of Justice statute 1728. PROTECTION OF GOVERNMENT PROCESSES & OBSTRUCTION OF
FEDERAL CRIMINAL INVESTIGATION -- 18 U.S.C. 1510- Prior to its amendment by the Victim and Witness Protection
Act of 1982, the provision also prohibited obstruction of criminal investigations by "misrepresentation, intimidation, or
force or threats thereof as well as retaliation against informants. Obstructions of Federal criminal investigations by all
means enumerated in former 18 U.S.C. § 1510 & 18 U.S.C. § 1512(b)(3). Obstructions by intentional harassment, a new
misdemeanor, is an 18 U.S.C. § 1512(c) offense. Here's the part | like: which reads, For the statute to be violated there is
no requirement that an investigation be underway. United States v. Leisure, 844 F.2d at 1364. But cf. United States v. Van
Engel, 15 F.3d 623, 627
8. Title 42, U.S.C., Section 14141 - Pattern and Practice: This civil statute was a provision within the Crime Control! Act of
1994 and makes it unlawful for any governmental authority, or agent thereof, or any person acting on behalf of a
governmental authority, to engage in a pattern or practice of conduct by law enforcement officers or by officials or
employees of any governmental agency with responsibility for the administration of juvenile justice or the incarceration of
juveniles that deprives persons of rights, privileges, or immunities secured or protected by the Constitution or laws of the
United|States. Whenever the Attorney General has reasonable cause to believe that a violation has occurred, the
Attomey General, for or in the name of the United States, may in a civil action obtain appropriate equitable and
declaratory relief to eliminate the pattern or practice.
9. Violations of the Racial Discrimination Act 1975
10. Police misconduct :refers to inappropriate conduct and/or illegal actions taken by police officers in connection with
their official duties. Types of misconduct include: Intimidation, Falsification of Evidence, Spoliation of Evidence: is the
intentional, reckless, or negligent withholding, hiding, altering, fabricating, or destroying of evidence relevant to a legal
proceeding.[1] Spoliation has three possible consequences: in jurisdictions where the (intentional) act is criminal by
statute, it may result in fines and incarceration. Intimidation through Threatening Behaviors & actions.
11. Police corruption is a form of police misconduct in which law enforcement officers end up breaking their political
contract and abuse their power for personal gain. This type of corruption may involve one or a group of officers. Internal
police corruption is a challenge to public trust, cohesion of departmental policies, human rights and legal violations
involving serious consequences. Police corruption can take many forms.
12. U.S. Cade § 1961.- Federal Racketeering
13. USC Code 25 CFR 11.440 Tampering with or fabricating physical evidence.
A person commits a misdemeanor if, believing that an official proceeding or investigation is pending or about to be
instituted, he or she:(a) Alters, destroys, conceals, or removes any record, document or thing with purpose to impair its
verity or availability in such proceeding or investigation; or (b) Makes, presents or uses any record, document or thing
knowing it to be false and with the purpose to mislead a public servant who is or may be engaged in such proceeding or
investigation.
14. Conspiracy to Obstruct Justice Act - 42 USC Section 1985 - Conspiracy to interfere with civil rights.

To the Federal Civil Court,
| ask the Honorable Judge to please review this Civil Lawsuit/ Compliant in its entirety, with the understanding that I'm not
an Attomey & due to the volume of treason committed by the Grand Blanc Township Police Department as the facts | will
lay out will show, how my local, state & Federal & Civil Rights were violated by the people & Public servants above.Grand
Blanc, Michigan is 98% White, and | am Moorish- American of Indian heritage, what common people refer to as Black.
The misconduct done to me by nick george & wayward police officers constitutes a "Hate Crime’. Their conspiracy &
harassment actions while wearing a Police uniform is ugly. | will so how each person named in this lawsuit violated 1
through 12 of the federal infractions against me & my family & my property, which is the reason I'm bringing forth this
lawsuit. I'm seeking Punitive Damages of 1 BILLION DOLLARS for Punitive damages, Emotional Distress, Compensatory
damages & that these individuals as a collective cover ANY & ALL of my Legal Fees associated with this matter in
regards to The Civil Rights Attorney's Fees Award Act of 1976, which is a law of the United States codified in 42 U.S.C. §
1988(b). It is often referred to as "Section 1988." It allows a Federal court to award reasonable attorney's fees to a
prevailing party in certain civil rights cases.. | feel that the so called Grand Blanc Township Police Officers, the Mayor, The
former Michigan Attorney General & current Genesee County Prosecutors Office, the Michigan Department of Civil
Rights, The US Department Of Justice headed by US DA Matthew Schneider & the US Department of Justice Civil Rights
Division, ALL engaged in a conspiracy to violate my human, state & Federal rights, and thus should be made to not only
pay for the damages I'm suing them for, but also cover my legal fees as well. | wouldn't be in this position if it was not for
them breaking the law.
SECTION 1. Case BACKGROUND
What Happened: In or around September 23rd, 2016, Joshua Warren & his brother in law broke the lock on my back gate
and entered my backyard, they stole power tools out of my closed shed, and stole 8 CBD cannabis plants- that | have my
Michigan card to legally grow and possess in my home. | was home, and | heard my patio door being pulled on, by the
time | made it downstairs, they were gone. | looked outside in my backyard and noticed the damage. | knoew it was the
little crackhead worker of Mr. george. He looked like he was fresh out of rehab, and everytime | came outside, he was
peeking through the bushes on Mr. george's side of the fence looking in my backyard. As the state reads, | went into Mr.
George's building and found his secretary Karen. | told Karen what happened. She came outside and we picked up their
leftovers from breaking into my yard. The roots from the plants were found inside of mr. george's dumpster area. She

https://mail.google.com/mail/u/07ik=0b584d92b7 &view=pt&search=all&permthid=thread-a%3Ar1 45401971 4796650846&simpl=msg-a%3Ar-3105166... 2/16
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gave me Mr. Georges number and I got her email, which is karen@ezpaycorp.com. | call him at his cell # 586-269-9500,
tell this dummy what happened. He gives me his workers number and tell me to call him and ask him about it. | knew that
this pompous coward that wouldn't take the lead and do the right thing when 2 ex cons vandalize a neighbors home, |
knew to keep everything for evidence. So | called Joshua Warren, and at first this jerk played like he didn't know what |
was talking about. Then | told him that Man, | saw you on the video on Mr. georgia's camera, you are going back to
prison. Joshua warren told me, Please dont go to the cops and work something out with Mr. george and that coward hung
up the phone and never answered phone or came back to work. Please see Exhibit Number 1 & Number #2.
| relay this info to mrs. nick george. this bastard started ducking my calls so | had to make an 2nd number on my

phone with the Sideline App, and was given the number 601-871-0645 . Records will reflect me txting mrs. george from 2
phones. | started calling mr. george there, and he asked me if anyone had been to my house? | said No, what you Mean?
He hung up the phone so | texted him as records will show, and mrs. george's responses. | emailed Karen at
karen@ezpaycorp.com |

On October 7th at 10:37am, | was pulled over by 2 Grand Blanc Township Police Cars while leaving my home by Special
Drug Agent Cop Ryhs he said. | asked him why he was pulling me over, and he said he was holding me for Officer Brady
Harner. 10 minutes later he pull up on a motorcycle, and walk up to my car, and tell me to GET OUT" | said, why am |
seeing you? And why are you pulling me over? Officer rhys came toward me like put my hands behind my back and |
said NO, tell me why you holding me. Ryhs & Harner look at one another and saw, We have a compliant filed against you
for being a Major Marijuana Dealer..| handed Officer Harner my Valid Michigan MMP card, then my drivers Incense. | got
FURIOUSIN He looked them both over and showed them to Special Drug Cop Ryhs,| knew at that point that Mr. george
had called in his Grand Blanc Township Cop friends to intimidate me, and possibly kill me. So | knew | was at their mercy
because It was not a Legal Traffic. Nor Routine. Harner asked if | know who would file a report on me like that & | said
yeah, that BITCH mr. george you working for. Officer Harner smiled and said, Yeah, he’s the one who filed one on you. So
| keep asking for Officer Harner to present me with the paperwork of what mrs. george said and he ignored me. | kept
asking Officer Harner why | was being pulled over, illegally detained, and he kept saying, I'll get you a copy later. | told
Officer Harner, have you pulled over Mrs. george's 2 workers? They are the bastards you should be pulling over. | can tell
by the looks Special Drug Cop Ryhs & Officer Harner kept giving each other that this “routine” stop didn't go how they
planned it at Mr. george's office & orders. These cops "stop by’ mr. george's business often. During this Illegal stop Officer
Harner told Ryhs talking to him low that, We cant do anything to the nigger. He got his MMP card, He know some of his
rights, we got to let him go. There are too many witnesses. He was speaking of the all the cars passing by where Grand
Blanc Township Police had me illegally pulled over for NO REASON. Officer Ryhs refused to give me a card with anything
with his name and number on it. Brady Harner wrote down his email for me to send him the email that | sent mrs. george
secretary Karen. And | did. They let me go and | immediately texted Mrs. George because | knew this wealthly, privileged
prick had gotten American Terrorists aka Crooked cops involved to protect his 2 crackhead workers that admitted to me
that they vandalized my home. Please see Exhibit #2. So at 12:15pm | texted Mrs. george and said: | was just pulled
over by Grand Blanc Police. Glad | had that email that | sent your secretary Karen.. LO!
Mrs. George texted back at 12:14pm and said None on part who filed it?? end qoute

That response proved he did it, and was in on the conspiracy, because Officer Hamer admitted to me that Mr. George
DID in fact file somethingon me, but he made sure not to give me a copy. Mr. Harner showed no interest in the TRUTH
that mr. george's workers vandalized my home, and that Joshua Warren admitted he & his brother in law broke into my
backyard and vandalized my property-when | told him that | watched them do it in mr. georges office on his surveillance
cameras. | ask the court to have a surveillance video expert do a search of Mr. george's office to search his video camera
camera footage. mr. george is just as lowly & trashy as his workers, I'm sure he deleted it with his cop friends instruction.
| asked Officers, Ryhs, Harner, Det Whittey & Chief of Police for a restraining order against Mr. george's workers the
same day | was pulled over by them, and after they read the state of fact of what they did. The Grand Blanc Township
Police NEVER issued them to me, because THEY INTENDED to NEVER ARREST mr. george's workers- which again is
a violation of state & federal law by Tampering with Evidence- as the Grand Blanc Township Police started doing from
Day one in this case, on behalf of mrs. george & his 2 workers. That again is violating state & federal laws. The cops in
this matter were in uniform during business hours as their emails & telephone call fogs will show. These officers violated
my rights to due process by NOT including my "Statement of Fact" with the Police Report, therefore Obstructing Justice.
Please read Exhibit #3 & the pictures of Exhibit #3A. Pictured in my yard is Karen, Mr. George
Secretary. More on her later. Please read Exhibit #3B, the Emails between Me & the officers of Grand Blanc Township
Police.. I'l

Exhibit #3B

A. Statement of Events:

from: Delmond Marshall <810mmg@gmail.com>

to: Delmond Marshall <810mmg@gmail.com->,

karen@ezpaycorp.com

date: Fri, Oct 7, 2016 at 11:03 AM

subject: Criminal Complaint againt the 2 workers of George Properties- MSP & Grand Blanc Police Depart

mailed-by: gmail.comCriminal Complaint againt the 2 workers of George Properties- MSP & Grand Blanc Police Depart
Inbox

X

Delmond Marshall <810mmg@gmail.com>
https://mail.google.com/mail/u/07Ik=0b584d92b7 &view=pt&search=all&permthid=thraad-a%3Ar1 454019714796650846&simpl=msg-a%3Ar-3105166... 3/16
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fo karen
Hello Karen, this is the statement of fact from the Sept 23rd robbery of my home! lo! Please let Mr.
George know I'm filing this Sunday with a family friend thats a State Trooper in Flint, then I'll file it in Grand Blanc on
Monday. This should get the guilty parties attention | hope. | know its unfortunate but thanks again..

Here is where the Hate Crimes, Police Misconduct, Hate Crimes, More Obstruction of Justice sets in. Unknown to me,
Mr. george had contacted his crooked cop friends on the Grand Blanc Police Department & told them to cover for his
guys that did the crime. Right here is where mr. george & Grand Blanc Township Police Officers Rhys, Officers Brady
Harner, Detective Jason Whittey, Sgt. Fuerguson, & even the Chief of Police Ron Wiles are guilty of violating federal
offense 18 U.S. Code § 371 - Conspiracy to commit offense or to defraud United States by agreeing to Illegally violate a
persons human & or civil rights by intimidation. Please note | was Illegally pulled over by Grand Blanc Township Police
Department on October 7th, 2016. | emailed Harner the Statement of Facts on October 7th, 2016. My case wasnt turned
over to a Detective until Wed, Oct 19, 2016 Proof: My email records can prove that after | got off the phone with Detective
Whittey, he sent me a TEST email...on Wed, Oct 19, 2016 at 1:47 PM twp.grand-blanc.mi.usfrom:Whittey, Jason
<Whittey@twp.grand-blanc.mi.us> to:"810mmg@gmail.com" <810mmg@gmail.com>
from: Whittey, Jason <Whittey@twp.grand-blanc.mi.us>
to: "840mmg@gmail.com" <810mmg@gmail.com>
date: Wed, Oct 19, 2016 at 1:47 PM
subject: test
mailed-by: twp.grand-blanc.mi.us
date:Wed, Oct 19, 2016 at 1:47 PMsubject:testmailed-by:twp.grand-blanc.mi.us
| had to email my statement of Fact again, because Det. Whittey didnt have it. Everytime | spoke to Det. Whittey, he tells
me how he just finished talking to Mr. George, his girlfriend. Det. Whittey showed me that he was coached in well on the
conspiracy by Officer Harner & Mr. george because he NEVER met me, and everytime we talked it was him making
excuses about why Mr. george's 2 workers wasn't arrested & that all the evidence was gone. Its just my word against mr.
george's and mr. george was going to win. | asked Det. Whittey about the videotape of mr. george's and he told me, they
couldn't retrieve it, since so much time passed. | asked him for the copy of the Report that American Terrorist to the US
Constitution Grand Blanc Township Officer Brady Harner said he had to pull me over, and he said, he would get it to me.
He NEVER DID.

Exhibit 4. January Sth, 2017- | emailed Chief of Police ron wiles

Set up a meeting with you concerning Compliant 16-4333 to Chief of Police Ron Wiles
Delmond Marshall

Grand Blanc, Michigan

48439

Happy New Year Chief of Police Ron Wiles ,

I'm Delmond Marshall, | reside at the address above. I've called three times leaving a vm with you. | need to speak with
you & the Grand Blanc DA about my Compliant 16-4333 on the workers of Dick George. I'm upset at how he could file a
bogus police report on me, and Grand Grand police is out at my home while I'm gone & | get pulled over and questioned
about it the very next day on a Lie. Yet, I've only had 1 phone call with the officer on my compliant which is the actual
truth in the matter. And for the George guy to tell me that," He runs Grand Blanc police" and that “Grand Blanc Police
wont do anything because of who he is” in this matter has rubbed me the wrong way, because it seems to be working out
the way that he said. I'm not happy about it. | was home sleep the day his 2 creeps robbed me. Things out of my
neighbors back yard has came up missing in the past, and | had no idea who it was stealing it. But after talking to the
George guy on the phone and he's telling me how much of junkies they are and how they steal from him at his condos
and his other buildings in Florida & Colorado- it must've been them. George filed a bogus report to aide and concern and
cover the acts of his guys that tried to break into my home. Isn't that against the law in Grand Blanc? Mr. George got
instant response from the Grand Blanc Police lying to your men, | tell the truth and I'm still waiting 3 in a half months later.
So I've spoken with friends of mine about this, and they both want to take the case. Why should | have to file a racial
discrimination and a Civil rights lawsuit because the law only works for wealthy white men in Grand Blanc, and not for a
Black man thats not rich that live in Grand Blanci'm starting to see this as being economic and racial bias at work. A
laywer friend joked that this situation be be the most interesting case on Law & Order ou and the Grand Blanc DA about
this matter as a citizen of Grand Blanc. I'd like you all to talk to my family and kids and explain to them how this is right,
because i can't. | teach my son don't you ever steal from anyone, because you'll go to jail. He asks me, Dad what arent
the guys that tried to break into our house in jail then? That's a great question that | can't answer. Like | told Det. Whittey
in email (He only speaks to me by email- he talks to Mr. George on the phone often though,
Det. Whittey told me that. And he also told me it would be hard getting a conviction because it would send them back to
jail. That let me know right then to prepare for a legal battle because I'm not letting this go. I've forwarded all emails and
text messages and recordings to legal on this matter because it's time to get it squared away. | wish Sgt. Rehys & Officer
Hainer could have stayed over my case because they were thoroughly pissed off after alot of questioning that | wasnt the
one in the wrong. That it was the "Lying Ass’ that filed the bogus compliant. Below is a copy of the statement of event in
my Compliant of mrs Georges workers. My cell number is above, its 702-xx@-x@@. I'm hoping we can speak soon and
arrange a meeting. Thanks for your time and | hope we can resolve this matter prompily. Hope to hear from you soon
Chief Wiles,Delmond Marshall

Grand Blanc Township Police Head Ron called after | sent the email and tried to calm me down and tell me “his
guys were on it". | asked him to put someone new on the case because Detective Whittey doesn't seem intelligent

https://mail.google.com/mail/u/07ik=0b584d92b7 &view=pt&search=all&permthid=thread-a%3Ar1 454019714796650846&simpl=msg-a%3Ar-3105166... 4/16
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enough to be a Police officer from my interactions with him. Ron got mad and told h=me he took offense to me thinking
that his men was part of a conspiracy as | explained it to him. Again | ask for a restraining order on mrs. george's 2
workers, and again Chief Ron hurried and got off of the phone. He's a coward to me as well. for going along with the
conspiracy that Officer Harner had started with the instruction of mr. george and everyone in the Grand Blanc Township
Police Department !'ve spoken with showed to be in on it & part of the cover up.

Exhibit 5 On January 13th, 2017 Enters Sgt. Marcus Ferguson- email

Inbox

Ferguson, Marcus <Ferguson@twp.grand-blanc.mi.us>

Jan 13

to me

Here is my email.......

Delmond Marshall <810mmg@gmail.com>

Jan 13 |

to Marcus .

Got it. | sent you the email with pics.. please call me after you review and speak with Secretary Karen.

On Jan 13, 2017 10:04 AM, "Ferguson, Marcus" <Ferguson@twp.grand-blanc.mi.us> wrote:
Here is my email.......

Ex. Printout of My compliant/ DA name and number
Inbox

x Delmond Marshall <810mmg@gmail.com>

Jan 31

to Marcus

Hello Sgt. Ferguson,
Good day. It's Delmond Marshall of 4146 McCandalish Road. I've been waiting to pick up a copy of my Compliant 16-
4333 with the printouts | sent on the email from the Police Department. And | need the DA's name that has my case so |
can speak with them about it so | can know whats going on. let me when I can pick up the printouts. Thanks again,
Deimond M.

Ferguson, Marcus <Ferguson@twp.grand-blanc.mi.us>
Feb 2 to me The report is at the front desk. The prosecutor is Bill Delzer 810-603-1000

Sent from my iPhone Delmond Marshall <810mmg@gmail.com>
Feb 2 to Marcus thanks Sgt Ferguson. | will pick it up shortly.

| was not given a copy of the reason | was pulled over back on October 7th, 2016 until Feb. 2nd, 2017..

| drove to Grand Blanc Township Police Department on Saginaw. | was met by an ugly, rude older woman who asked me,
Why was | there? | told her (with my eyes semi-closed) that I'm here to see Sgt. marcus and Pick up a report. | sat down
thinking sgt would show his face. He didn't. Ugly, rude lady tapped on glass, told me | wouldn't be seeing Sgt. and gave
me the police report that Officer Brady Harner wrote up. | went to Gennesse Compassion Club and on my phone |
googled the name and number that the Sgt. of Grand Blanc Township Police Sgt. Marcus F, gave me. And Biil Delzer
WAS NOT the Gennesse Prosecutor ( thats Mr. David Leyton) but a grand Blanc Lawyer that owns the Elias Big Boy
Burger Restaurant on Saginaw Street. Why would a Sgt. of the Police Department purposely send to the name & number
of one of his high school friends? At that moment, | got scared as shit because I realized, | called the810-603-100
number and spoke to someone who said they were Bill Delzar. | told him my name & reason for calling. He asked if I'd be
interested coming to the Elias Brothers restaurant after it closes to do drugs & party with him, some sexy white girls, do
drugs and talk this situation out. | acted like there was a connection issue with my phone & hung up!!! | got scared as shit!
These men were trying to set me up to harm me in some way! | sat and thought about the fact that | was the ONLY
BLACK person in this circle of Crooked Cops that are henchmen for the wealthy white Mr. george. | knew at that point in
time my life was in jeopardy. Being a Black man in America, A police officer has the “unwritten right” to kill an unarmed
Black man. That the cops would try to Kill me, to continue the cover up, right up a bogus report, and just let my heirs sue
them for compensation in a wrongfully death suit. i saw the blood on the walls of what they where doing. Men, swom to
uphold the law, was premeditated breaking the law, violating numerous state & federal laws. Special Drug Guy Officer
Ryhs, Brady Hamer, Detective Jason Whittey, Sgt. Fuerguson & Chief of Police Ron Wiles are need to be held
accountable for their illicit behavior and actions while in uniform, because it violated several federal laws that they need
to be indicted on. Such as the "Police Misconduct Provision" This law makes it unlawful for State or loca! law enforcement
officers to engage in a pattern or practice of conduct that deprives persons of rights protected by the Constitution or laws
of the United States. (42 U.S.C. § 14141). The types of conduct covered by this law can include, among other things,
excessive force, discriminatory harassment, false arrests, coercive sexual conduct, and unlawful stops, searches or
arrests. In order to be covered by this law, the misconduct must constitute a "pattern or practice” -- it may not simply be
an isolated incident. The DOJ must be able to show in court that the agency has an unlawful policy or that the incidents
constituted a pattern of unlawful conduct. However, unlike the other civil laws discussed below, DOJ does not have to
show that discrimination has occurred in order to prove a pattern or practice of misconduct.

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In this case, the conspiracy & cover up started the day | was Illegally pulled by by Grand Blanc Township Police October
7th, 2016 & continues on to today.
The DOJ will be able to see the pattern of the GB Township Police officers with their stall tactics, lack of concern, writing
and filing bogus police reports- Which is a federal offense. Sgt. Feurguson lying to me saying that the Bill Delzar that own
the Grand Blanc Elias Big Boy was the Prosecutor over my case proved to me those cowards had been in on the cover
up from day one and was part of the conspiracy & it caused me harm & duress in my Quest of Justice promised to me by
the US Constitution. The Grand Blanc Township Police is this case is guilty of Title 18, U.S.C., Section 241 - Conspiracy
Against Rights-this statute makes it unlawful for two or more persons to conspire to injure, oppress, threaten, or intimidate
any person of any state, territory or district in the free exercise or enjoyment of any right or privilege secured to him/her by
the Constitution or the laws of the United States, (or because of his/her having exercised the same). It further makes it
unlawful for two or more persons to go In disguise on the highway or on the premises of another with the intent to prevent
or hinder his/her free exercise or enjoyment of any rights so secured. Punishment varies from a fine or imprisonment of
up to ten years, or both; and if death results, or if such acts include kidnapping or an attempt to kidnap, aggravated sexual
abuse or an attempt to commit aggravated sexual abuse, or an attempt to kill, shall be fined under this title or imprisoned
for any term of years, or for life, or may be sentenced to death.
The ENTIRE pull over was warrant-less & they were trying to get me into an arguement to where they could shot & kill
me, and everything wouldv’e been ok with them. Look at how lawless these crooked cops i call American Terrorists of the
United States Constitution, because they violated the very laws that are in place for citizens. Instead of the police showing
NO BIASNESS & being fair & maintaining their goal to "Serve & Protect", these men decided to use their jobs as a public
servent of the law to run a culvert operation that would deny me, a home owner justice by Tampering with evidence on
behave & to free of the 2 crackhead EX convict white workers of Mr. George of persecution of their crimes. Imagine the
horror | feel knowing White Cops would actually TRY to COVER FOR 2 white Ex Con White boys that tried to break into
my homell!!! What that shows me is, those white boys dont have to respect my home, my locked gate or my life. These
dirty, Grand Blanc Township Police officers I've dealt with in this case are home bom, American Terrorists to the US
Constitution. how lowdown is it of a so called police officer to Help White Ex cons attempt burglarize homes??7? I've lost
All faith in Mankind because of these crooked jerks that let me know that | must police my premises because these police
officers CAN NOT BE TRUSTED.
The section continues with, in order for unlawful acts of any official to be done under “color of any law," the unlawful acts
must be done while such official is purporting or pretending to act in the performance of his/her official duties. These men
were in Grand Blanc Township Police Department Uniform When they pulled me over, and the times on the emails sent
show they sent sent during the 9 to 5 workday, in which, these crooked cops were in uniform. They should be charged
with a hate crimes because they used their guns, badges & uniform as well as their public trust to "HIDE" the guilt of
these 2 men because they are white. | ask you to open an investigation to everyone of color pulled over by Grand Blanc
Police over the past seven years. They may be missing, or living on a farm as slaves like in that "GET OUT” movie.
Simply put the Grand Blanc Township Police Officers that violated my Civil & Constitutional rights deserve to be in Federal
prison with other Crooked cops. Crooked cops can be charged with obstructing a citizens rights by writing bogus police
reports.

Exhibit #6 The Grand Blanc Township Police Report.

I'd like to start for the record that | have childhood friends & family that are Police officers that | told about this situation.
They all instructed me on how bad the Grand Blanc Township police violated my constitutional rights & the countless
misconduct charges these men commited. | can handle questioning by the Court in this matter because ! have zero to
hide. Obviously, Mr. George & the cops in this chance have alot to hide. They tried their best to hide evidence. This Police
report that Officer Brady Hamer wrote up, and Detective Jason Whittey, Sgt. Mark and captain Ron Wiles signed off on
and gave me was BOGUS. Reasons the Police Report Sgt. mark gave me is BOGUS. Its not factual biased,

#1. Where is my statement of Fact that | had sent each of the Grand Blanc Officers in this case????? Its no where in the
Police report that | was given!! They Kept my Statement out because they wrote up a fake summary, and signed off on it
to deny me Due Process & keep The white Ex Cons that vandalized my home & Property "Free". | emailed the same
Statement of Fact to every Grand Township Police Officer | came in contact with, and ALL of them IGNORED my
statement & never turned tha evidence into the real DA, who is David Leyton of the Genesee County Prosecutors office.
So the police active in an ongoing investigation, PURPOSELY WITHHELD evidence, tampered with evidence to keep the
guilty free. That is a violation of state & federal law. #2. On bogus police report that Sgt. markus left for me, American
Terrorist Officer Brady Harner wrote that | BELIEVE Mr. george's workers vandalized my home. Please reread my
Statement of Fact! | never told that cocksucker Officer Harner that | BELIEVE they DID IT! | told Officer Harner, Ryhs,
Det. Whittey , Sgt. mark & Chief of Police Ron that Joshua Warren TOLD ME HE DID IT! Why did American born Terrorist
to the US Constitution LIE like that?Why did Officer Harner write that Bold Face lie in his report? Isn't that a violation of |

will tell you why...

Both of Mr. george's workers are Ex Con, recovering addicts. Running their correct name through the Michigan
Otis system, it would've sent an alert to their STATE probation officers, because BOTH of mr. george's workers are felons.
So mrs. george made sure to tell his American Terrorist cop friends to write in False information to keep the conspiracy
going & keep his "Criminal workers" safe to go and break in other Black people homes so the Crooked Grand Blanc —
Township Police officers can run more culvert operations to make sure these bastards NEVER have to face up for their
crimes. The benefit of being White & all to break laws with the police officers consent. The American public need to know
that while most cops are law abiding, fair and just to all that they come in contact with, their are jerks that disrespect &

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violate the Uniform for their own petty, racist reasons, like the American Terrorists Officer Ryhs, Hamer, Det. Whittey, Sgt.
Marcus & Chief Ron has shown to be in this matter. #3, Joshua Warren's number on Police report is different than the
one, dumb ass Mr. George first gave me. Again, this change in Telephone number was Mr. george instructed his
American Terrorist Police friends to tamper with the facts to make sure his guys stay free.

#4 There was NO MENTION of the video tape in Officer Harners report, he's a PUNK ass American Terrorist Cop. #5
Officers Rhys, Officer Hamer, nor Det.. Whittey, Sgt. marcus of Chief ron ever did the Restraining orders on Mr. George's
2 workers like | asked for. i can tell the court why they didn't do it. Giving me their names & writing up that report would've
alerted their State Probation Officers. The Crooked Grand Blanc Police Officers had to protect the guilty, so they couldn't
give me a restraining order, again violating my state & federal rights. #6 Isn't it strange that Mrs. George called his corrupt
COP friends on me, but he didn't give Grand Bland Township police his workers real names, just like he didn't give their
names to me. Isnt that peculiar? Why is that? That is proof of favor & biasness by him... and followed by the cops.

“The fact that several top Grand Blanc Township Police officers signed off on this bogus police report proves they were in
on the conspiracy to violate my human & civil rights. The very definition of Conspiracy conspiracy; a secret plan by a
group to do something unlawful or harmful. What mr. george and the Grand Blanc Township Police officers in this case
did was alot of things VERY UNLAWFUL, and very HARMFUL to me, and they must be brought up on charges for there
illegal, and terroristic acts that they planned & executed against me in direct opposition to United States Constitutional
Law.

Case Law to Prove the merits of this civil Lawsuit & commentary:#7A Friday October, 2019.Southern District of Texas
McAllen, Texas A Former LEO Police Officer charged with Civil Rights Violations. US Attorney Ryan K. Patrick
announced. Matthew Lee Sepulveda, 24, was a former law officer with Progreso Police. The charges allege that
Sepilveda violated the Civil Rights of 2 individuals while “acting under his Authority” as a “uniformed police officer’. He
allegedly performed “oral sex” on two men while they were in his custody. If convicted, Sepulveda faces up to LIFE in
federal Prison.

Commentary1: The case is listed under Public Corruption just like, the officers listed in this federal civil lawsuit should be.
Sepulveda violated 2 men civil rights by sucking them off while he was at work, in uniform.| think Grand Blane Township
Police Officers Special Agent Ryhs, Officers Brady Hamner, Detective Jason Whittey, Sgt. Marcus Ferguson or Chief of
Police Ron Wiles in this case violated my Civil rights by their actions while "acting in Authority" as a “uniformed police
officer’, by their actions in this case. Mr. Nick George may be sucking off the officers in this case, in my opinion to get
them to violate Black Indians peoples rights in Grand Blanc.

#7B Monday, November Sth, 2018 Western District of Louisiana Former St. Martinville, Louisiana, Deputy Chief found
Guilty of excessive force, Obstruction & Conspiracy

Former Deputy Chief of Investigations Codi Dodge, 35, was found GUILTY of four felony counts, including a civil rights
violation. Three counts of Obstruction of Justice & Conspiracy to cover up the incident.

After 5 days of trial, the jury convicted Dodge of Obstructing Justice by "falsifying records”. After learning that the incident
had been reported to the FBI. Dodge conspired with other St. Martinsville Police Department to falsify reports regarding
the incident, & to mislead the FBI in its investigation. Dodge faces a statutory maximum of 55 years in Federal Prison.
Commentary2: Principal Deputy Assistant Attorney General Mr. John Gore said, "The Department will continue to
vigorously enforce our nation’s laws & hold officers who break the law accountable. Illegal conduct by officers who abuse
their power & violate the “Civil Rights" of the Citzens they promise to serve harms the public trust & will not be tolerated.
End Quote This case is listed under Public Corruption as it should be. What is Michigan’s stance on Civil Rights? | cant
tell from what happened to me in this situation. No police agency, Prosecutor Office lve been in touch with sees anything
wrong with what Grand Blanc Township Officers have done on record in this case. They violated my civil rights, while in
authority position & in Uniform to figure a conspiracy. That's against state & federal law.

#7C June 10, 2017 Western District of Kentucky Former Providence, Kentucky Police Officer is Charged With Civil Rights
Violations and Obstruction- William Oukes, a former police officer with the Providence (Ky.) Police Department was
charged Thursday, June 8, 2017, by federal grand jury indictment, with two counts of willfully violating the civil rights of an
arrestee and one count of obstructing justice by filing a false report. The announcement was made by Acting Assistant
Attorney General Thomas E. Wheeler, I, head of the Civil Rights Division, and U.S. Attorney John E. Kuhn, Jr., of the
Western District of Kentucky. May 26, 2016, without probable cause to believe that J.L. had committed a crime, and that
Dukes made this unlawful arrest to retaliate against J.L. for seeking to file a complaint against Dukes through state law
enforcement agencies. The indictment alleges that the offense resulted in bodily injury to J.L. and that it involved the use
of a dangerous weapon. A third count in the indictment charges Dukes with filing a false report with the intent to obstruct
any investigation into the false arrest incident. If convicted, Dukes faces a maximum statutory punishment of 10 years of
imprisonment on each of the first two charges and a maximum statutory punishment of 20 years on the third charge.
Commentary3 relating to this federal lawsuit: The third count in the indictment charges Dukes with filing a false report with
the INTENT to OBSTRUCT any Investigation into the false arrest incident. Count 3 is a maximum statutory punishment of
20 YEARS. This case is filed under "Civil Rights”- Criminal Section. The Grand Branc Township Officers named in this
Civil Lawsuit actions are the same as Mr. Dukes. Why is it a Civil Rights Violation in Kentucky, Texas & Louisiana, but not
Grand Blanc, Michigan? | wish US Attorney Ryan K. Patrick from Texas, or Principal Deputy Assistant Attorney General
Mr. John Gore of Louisiana, Acting Assistant Attorney General Thomas E. Wheeler, !|, head of the Civil Rights Division,

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and U.S. Attorney John E. Kuhn, Jr., of the Western District of Kentucky, or U.S. Attorney Craig Carpenito from New
Jersey could come to Michigan & Teach Genesee Prosecutor David Leyton, United States Attorneys Office Flint Branch
Telephone: (810) 766-5177, The Michigan Department of Civil Rights & United States District Attorney Mr. Matthew
Schneider that's named in this Lawsuit how to conduct Civil Rights Investigations. Because the idiots named in this civil
lawsuit do not.
#7D Wednesday, March 20, 2019 Newark, New Jersey Paterson New Jersey Police Officer Charged with Conspiracy to
Violate Civil Rights & other Offenses. - A federal grand jury indicted a City of Paterson, New Jersey, police officer for
conspiring to violate individuals’ civil rights by stopping and searching people in their vehicles and on the street and
stealing their cash, U.S. Attorney Craig Carpenito announced. Eudy Ramos, 28, of Paterson, was charged in a nine-count
indictment with conspiring to violate, and violating, the civil rights of individuals in Paterson, and with filing multiple false
reports to conceal his criminal conduct. They split the cash among themselves and submitted false reports to the PPD,
omitting their illegal conduct or lying about it.
Commentary that supports this Civil Lawsuit: Please see Commentary 1, 2,3 & just look at the evidence & ask yourself,
Why haven't EVERYONE named in this Civil Lawsuit still free, never investigated or indicted about their actions? Why is
Texas, Louisiana, New Jersey, & Kentucky able to read, comprehend & charge crooked cops with Civil Rights violations,
but not Michigan?

SECTION 2.
Exhibit #8 Detroit Free Press Oct. 10, 2019 article titled, "Violent traffic stop cited in ex-MSP official's lawsuit. We have the
video. She says her request to have prosecutors review the case for unlawful use of force was denied. end qoute.
Now-retired 1st Lt. Twana Powell, who was the head of internal affairs for MSP, claims in a whistleblower lawsuit that she
wanted prosecutors to review the arrest for unlawful excessive force. A high-level supervisor denied her request, she
said. “MSP suffers from a pattern of discrimination against both citizens and agency employees,” she said in the lawsuit
scheduled for trial next year in Ingham County Circuit Court. Powell spent her career investigating powerful people
accused of wrongdoing, both inside and outside the agency. During her 25 years with the State Police, she investigated
cops, judges, mayors, even the head of her own agency who posted a meme on Facebook in 2017 that disparaged
athletes who kneel during the national anthem, leading to five days of docked pay.

Mrs. Powell is a 25 year Veteran of the Michigan State Police Department. She's also Afro American & her claims of
discrimination is similar to mine.

Exhibit #9 My compliant letter to the same Michigan State Police- Internal Affairs Executive Mr. T.
Szymanski February 7, 2017 & again March 23, 2017

Mar 23, 2017, 12:23 PM

My compliant against Grand Blanc Township Police Force to MSP-Internal Affairs Executive T Szymanski

Executive T. Szymanski,

My name is Delmond Marshall and I'm contacting you about an issue at my home that I'd like investigated by your office
and the FBI for the countless state, and federal violations that has happened to me by Grand Blanc Township Police.
Being a 44 year old black male, I've been pulled over more times then | can recall, searched, etc. So | can gauge the
demeanor & fairness of each encounter from it. With that said, let me explain what happened. | have a situation where
several cops, including the Cheif of Police, tried to cover up the fact that 2 workers of a white rich man tried to back into
my home. Grand Blanc Township Police pulled me over and questioned me on behalf of Mr. George. They waited
outside my home from address the street and the Officer Special Ryhs pulled me over and said he was detaining me for
officer Hainer to speak with me about a compliant against me he had. Luckily | was heading to Kinko's to print up the
email and take to the Michigan State Police Department. | have emails to the cops to prove this. After they read my
statement of events, Officer Rhys said, "we need to hurry up and let him go" because it was nearing heavy traffic time. |
asked for a copy of why | was pulled over, and | was told by Officer Hainer, it would be emailed to me. | asked the police,
since your here, lets go back to my home so you can see what they did, get fingerprints off the patio doors etc. and
Officer Ryhs said, they were out to my home the day before". | found that odd because they didnt leave a warrant at my
home....| texted the dumb business owner and told him,| was pulled over by police, glad | had the email that | sent Karen,
his secretary. This twerp texts back and said, by who, it wasnt me". The cops that pulled me over just told me Mr. george
called them.. Do you see the conspiracy? Please look at the Grand Blaqnc Township Police report. Notice that they list
the 2 guys names wrong. Mr. george told me both guys had been in prison recently. Which means they would be in the
OTIS system. Again, the cops NEVER run thier correct names because they NEVER had any intention on arresting
them. | asked the Sgt. for the DA handling my case, and he on an email for the police station told me the DA name was
Bill Delzar. | did a google search of Bill Delzar and he owns the Elias Big Boy in Grand Blanc and just been told a attorney
for Grand Blanc family court or something. Still, in all, the SGT. purposely gave me wrong information because only Flint
Prosecutors Office handles ALL criminal cases for Grand Blanc Township. | asked for a printout of my compliant number
46-4333 which Grand Blanc Township Police NEVER printed up and gave to me. | get the feeling from reading through all
of this that I'm sending you, you will see the blatant violation of my constitutional & civil rights by them . | knew at that
point, that the police was crooked and all that they have done has been not by the book at all and violated my civil rights.
im scared of the police now where | live. So much so that | filed the following motion to the local court to document what
has happened and my intent to sue all involved for 7 million doliars.

1. Motion for living document/restraining order on Grand Blanc Township Police Department

|, Delmond Marshall, before i proceed with this motion to the court, first say as a citizen of the United States, I'm

https://mail.google.com/mail/u/07ik=0b584d92b7 &view=pt&search=all&permthid=thread-a%3Ar1 4540197 147S6650846&simpl=msg-a%3Ar-3105166... 8/16
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sickening by the fault | had to even file this brief. | respect all people, regardless of race. | respect all officers of the law
that are fair & even keel with all those they come in contact with. With that | humbly ask the court to to write up and sign
into being a living document preventing Grand Blanc Township Police Department, being Grand Blanc Township Police

Detective Jason Whittey, Sgt. Marcus Fuergeson Grand Blanc Township Chief of Police Ron Wilson and nick george's 2
workers jeremy/Joshua Warren & David Aaron Medrano ( the 2 criminals they as a collective have decided to protect

have under racist color of law & abuse of their public servant job as sworn police officers, using their position as public
police officers to knowingly & willingly violated my 6th, 9th, 10th US Constitutional rights, as well as the 13th, 14th, 15th &
49th Amendments, in their illegal doings in covering for their boss, nick george of george properties. The also violated
my constitutional rights under 42 U.S.C. § 1983, by using their power and police badge as a "white privileged" shield to
violate my rights as a human. | fear nick george of Nick George properties Grand Blanc Township, Michigan Address:
8313 Holly Rd # C, Grand Blanc, MI 48439 Phone: (810) 695-7500 nick george of george properties fame and other
surrounding counties, and any law enforcement persons whether in uniform or plain clothes out of fear for my life of being
killed by a police officer from Grand Blanc because the Grand Blanc Township inhumane, biased & mistreatment of me
during since they were called into a an attempted break in at my home. | will lay out my reasons citing Federal case law to
support my evidence.
Please read Exhibit A, B & C before you continue WHAT HAPPENED: 2 workers of Mr. dick (nick) George, owner of
George Properties, tried to break into my home. They took the lock off the back gate. They stole tools out of my shed and
stole 8 CBD Medicinal plants that | had growing in my backyard which | have my Michigan MMP card and within my legal
rights having them. CBD plants are used to treat Severe Migraines & Cancer. They pulled up the plants and took the
roots & trash back from my yard to Mr. nick george's property, in FULL VIEW of his cameras.

| got in contact with dick george through his secretary Karen. | called this twerp the same day this occurred and we
spoke. This coward proceeded to tell me how much this Joshua Warren loser that works for him steals from him. That
he's put him in rehab several times. And how much of a loser he his, and his family is, and that he's just trying to resolve
this situation.

nick started ducking my calls, and when I did contact him, he had his arrogant “I'm white Privileged & Rich" voice going
and he told me to except the police ( Grand Blanc) out to my residence. He told me that the "Police was his drinking
buddies" and "you don't know who | am" foolishness. | was pulled over and held up by Grand Blanc Police. They came
questioning me and | answered every question. They had been lied too to a certain degree because the talk didnt go how
the Special Drugs Office rRhys and Officer Hainer was told to believe. | asked several times for the copy of the warrant
they were pulling me over for and questioning me about. | never got it. | was never told a clear reason of why either. | told
Officer Hainer to get the video tape from nick g's property showing his workers robbing my home. These 2 guys that
vandalized & tried to break into my home are white and receiving privileges of not being arrested as a favor to a
prominent businessman, friends with the police. Drink with em, etc.
2. My case number 16-433 was taken by Det Whittey. It took me 3 in a half weeks to finally get him on the phone. The first
time | spoke to him, he told me "| just got off the phone with dick george”. Its not enough to take in front of a DA right
now." | guess that the difference between Black Law & White Justice, because I've been arrested and let go after the
police realize "It was someone else", we grabbed the wrong guy”. | have emails of Det. Whittey letting me know he's not
the best Detective of the Police force letting me know he's paid no attention really" to my case.
3. Fed up with the Grand Blanc PD bull-s,l emailed Ron Wiles Chief of Police of my concern with the lack of concern on
my issue. He told me he would get on itt and put me in touch with Sgt. Fuergeson. First time | spoke to him, he told me,
that he had just spoken to nick george. | started seeing the discrimination, the violating of my Civil & all rights given to
Moorish Americans that know our birthrate, as | do. The police misconduct in this matter, on purpose towards me violate
my United States Constitutional Rights.
| keep asking to get an official copy of my compliant #16-4333 from the G B Police Sgt. Fuergueson, and he refused to
give it to me. Last email | sent Sgt. Fuerguseon, i asked him to send me the official copy of the compliant | filed and the
name & address of the Prosecutor for Grand Blanc because | need to talk to them, Let the record reflect that Sgt.
Fuergueson email said and | quote: The report is at the front desk. The prosecutor is Bill Delzer 810-603-1000. | looked
up Bill Delzer and he's a local Grand Blanc Business owner/ laywer. mr. george threatened me by saying ° Looks like ima
have to call Genio", That was a mob saying/turn for calling a hitman. Surely he wasn't calling them for his workers, he
was saying that to me and for me. | have all phone logs and text messages of me and nick george as well as the one
junkie, Joshua as well.
At that moment | replayed the entire event since those 2 jerks tried to break into my home, and noticed | was the only
black person involved, Everyone else was white in this and how like the successful businessman but dumb person nickie
george said, | dont know who he is | guess | rightfully afraid because he is strong enough to make men, sworn & protect
the law, violate that law for his personal gain. This situation proved to me that there are 2 sets of rules when it comes to
law enforcement. The white guys that break the law gets treating better than a black homeowner in Grand Blanc. These 2
guys, along with nick george has used his handed down privileged wealth that he arrogantly maintains to where he has
the police force in his pocket and they will knowingly & willingly do things to break & violate the rights of an innocent black
man. Yes there is such a thing.

For these reasons, I'm afraid for my life of Grand Blanc Township Police because | don't know how deep this
police Departmental cover up go, or how many Minorities have been pulled over & possibly handled in violation of their
Human & civil rights just like me. We live in a society where police killing Black men like myself is an unfortunate norm
now a days. Imagine how | feel when the police department has tried to push this incident up under the rug for mr.
george. If nick george has enough money to make all the people on the Grand Blanc Township Police Department Ive
talked to bow down to him like he is a Kingpin or something, | have every right to be afraid. | fear the Grand Blanc

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Township Police will come to my home to serve a bogus drug raid, at the behest of dick george and kill me & my family. |
have kids & grandkids at my home. I'm scared for them. I'm afraid of getting pulled over by Grand Blanc Township Police
on another bogus warrant that dick george may call in a favor, pull me over, start a confrontation just to shoot me dead in
the line of fire. I'm dead, the cop gets 3 cops weeks paid leave and my family is left to pick up the pieces. Rich white men
that are racists and in public office in law enforcement have been known to kill black men for sport. In the rap song, Black
Jesus by Tupac Shakur, he said: Cops patro! projects & hate the people living in them, It's like i was born an inmate and |
got to die to escape the prison”. no words could better describe the how a young black male see's this American society.
Preaching all this sweet, moral shit, then turn around and abuse they power under the power & color of the Uniform. look
thru history and see the evil that men can do wearing a uniform & a badge. words describing the obvious into Case in
point, the case of Fred Hampton vs Hanaran (600 F.2d 600 ) US Court of Appeals Seventh Circuit Argued Aug. 14,
1978. Decided April 23, 1979. In this case Edward Hanaran, then the Cook County State's Attorney in Illinios, documents
says he was a member of the klan. He approved the raid of the residence of a young black man named Fred Hampton,
21 years of age. He was a member of the Black Panther Panther. With the help of an Police informant that spiked Mr.
Hamptons drink that put him to sleep. At 4:45 am Chicago Police knock and storm Hamptons home. Hampton & brother
Mike Clark was shot dead. Police saw the Black Panthers initiated the gun battle. Yet, ballastic evidence from the scene
said the Black Panthers only fired 1 to 2 shots. The Police was credited with 96 rounds. 96 shots to one or 2 does not
sound like a battle. It sounds like a murder to me. Of course the cops were cleared of any wrongdoing, although the city
had to pay out millions of dollars in a wrongful death lawsuit against the same Hanaran & the state and federal
government. It's wore this reason ! can't sleep. listening for everything at night thinking its the crooked, mr. george with
the power he appears to have over the GB Township Police , it would be nutthin for him to call a cop and ask them to let
"Genio" borrow the patrol car so they can assassinate me. I've turned all telephone logs, emails between myself and the
police in this matter to my attorney and he will file the proper racial discrimination lawsuits for the unfair in this matter. This
situation has caused me much stress and mental anguish. | cant sleep out of fear of an attack from nick. george, Genio
the hitman, the crooked police etc. What American citizen cant call on the police department out of fear? Me. Thats who. |
cringe when i drive thinking that its nick george hitman Geno in a Grand Blanc Police car or any police car that | see when
I'm driving. This men have violated my right to live in peace & harmony. I'm scared to take a vacation because i'm worried
about nick george having some of his police officer friends burn my house down. I'm up at 1:05am in the morning typing
this with 2 butcher knifes on my table. | shouldn't be in this kind of fear. The 2 assholes that tried to break into my home
that they are illegally protecting using their job and friendship and muscle. I'm paying taxes to this city government where |
live and | can't call 911 where | live because | fear crooked police? Is this the American people that never have to face

my daily struggles in a land where ignorant, misguided people view my black skin as my skin and think its ok to kill me.
This is living proof that it's 2 or 3 colors of law then it comes to police & people. If someone tries to break into my home, |
know | have to defend myself because the Grand Blanc Police Department can not be trusted by me. I'm asking the court
to look at evidence contained in this motion and write into existence a living document to ensure | have no dealings with
Grand Blanc Police. They act like a gang, and lawless. That is scary. !'m This is a notice | will sue all parties and their
employers and the city of Grand Blanc in this matter for 7 million. | thank you court & judge for your time.| attest that all
herein is fact and put on record. Thank you, this day February 7, 2017

| got a telephone call from this idiot & he basically said theres nothing he could do. Grand Blanc Cops are 99% white, so
according to him, they cant break the law.

Exhibit #9 MLive article Jun 11, 2018 titled” School records don't mention two police probes of ex-Grand Blanc teacher

A Grand Blanc teacher facing felony charges that he had a sexual relationship with a student was previously investigated
by police over similar accusations, according to records obtained by MLive-The Flint Journal. Reports obtained from the
Grand Blane Police Department through a Freedom of Information Act request show the agency twice investigated auto
shop teacher Denny Holt over claims of inappropriate sexual conduct with a student. The first investigation was closed
with no charges, while the second investigation resulted in the current criminal case against him. Police conducted a third
investigation against Holt over claims he brought a gun onto school property. That investigation also yielded no charges.
Despite the multiple police investigations, official schoo! records show little to no documentation of the incidents.

This shows that Grand Blanc does questionable police work & that school officials tried to cover for both the Police & a
teacher currently awaiting trial on having sex with students on school grounds. Why hasn't the Michigan State Police
Internal Affairs come in to investigate why the cover up? Why the accused child molester was able to get away with it so
long?

My answer is like that of former Michigan State Police 1st Lt. Mrs. Powell. White men don't like putting other white men in
jail in law enforcement. Its called "White Privilege” White privilege (or white skin privilege) is defined as" the societal
privilege that benefits white people over non-white people, particularly if they are otherwise under the same social,
political, or economic circumstances.

If | was accusing several Black Police Officers, They wouldve been in jail back in 2016!

Exhibit #10 July 15th, 2017, | sent the following letter to Genessee County Prosecutor David Leyton,
Greetings Genesse County Prosecutor Mr. Leyton,

It's Delmond Marshall again. | waited to touch bases with you concerning the obstruction of justice charges that should
be levied against the 5 Grand Blanc Township Police Officers that violated my Constitutional rights & continue to do so. |
read the article about the 5 guys that did the home invasion in Flint recently. The article stated, you said that, "the facts in
this case are everybody's worst nightmare & something nobody ever wants to face", end qoute. | totally agree with you on

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that Sir. Let's apply your words to my situation where | have 2 white boys that broke lock and gate to enter my backyard,
stole plants and tools and tried to do a home Invasion- and the police write fake names on police report to cover for them
at the behest of rich white man Mr. Nick George,owner of Nick George properties 8313 Holly Rd, Grand Blanc, Ml 48439
(810) 695-7500

I'm alerting you to this situation again. I've written Gennessee Sheriff Pickell about this matter as well. I'm sure these men
are your friends from working, but they violated state & federal law and | want them indicted for it. ! wanted to alert your
office that I've contacted the US Department of Civil Rights about these gross civil & constitutional violations & the police
corruption tactics done to me by Grand Blanc Township Police Department , that has stressed out my family. Grand
Blanc, Michigan is 95% White, and we are black, so | can't help but think what happened is racially motivated. | cant help
but think the Feds need to launch an investigation into Mr. George and his connections to cops tohat would lie and cover
for his ex con workers. And any minority pulled by Grand Blanc Township Police the last 5 years. If these men would
purposely "LIE’ writing my report, and trying to "Muscle me" to drop it and they KNOW his guys tried to break into my
home, Ithey must be corrupt. If they found gdrugs on a black guy or female, who's to say that they didn't plant it, if they'd
purposely try to "HIDE" evidence among themselves??? | mean this is a messy headline, ‘Several Grand Blanc Township
cops indicted for trying to cover the home burgalry of 2 ex cons that work for a friend of the Police Chief".. These men
searched my home unwarranted and they also wrote up a bogus police report trying to protect the 2 white ex cons that
work for mr. goerge- all done in a conspiracy form, by men sworn to protect and upkeep the law fairly- which this men did
not. | was illegally pulled over and excessively questioned and basically told to drop my intent to press charges aginst Mr.
georges men because Bill Delzar (who is NOT the prosector) said there wasnt enough evidence to indict. smh lol Sick of
their bullshit, |! contacted several branches of the FBI Public corruptions Unit, & recently the US Assistant General Mr.
Perez trying to get help & assistance in this matter. Being that this men are still officers and have friends that are officers
that can pull me over, storm my home and try to kill me and my family, what is the US Attorney prepared to day to protect
my civil and Constitutional rights violated by the very people that is supposed to uphold and protect them? Because of
this matter and Issue, | need your office to clear me to legally have handguns again. | have a right to protect my life from
terrorists- both foreign & domestic. Crooked cops in this matter, in my eyes, are American Terrorists” because cops can
kill black men like me and it's ok (Minnesota) other places. SMH I'm a grandfather being treated like an 17 year old black
dummy. My family and my parents worry about me driving home to Grand Blanc where those racist cops have a gun,
uniform and badge and can pull me over. How would you feel if you were me? I've so fucking stressed out about this |
don't know what to do. I've written Genessee Sheriff Pickell about this matter, and no response. | wrote Gennessee
Prosecutor David Leytons office, and they called and werent to helpful, gave no no legal advice because they are friends
with the cops involved in this case. Thats why | printed up everything and mailed it in to various FBI offices. Below is the
letter that | sent on Friday to Grand Blanc Mayor, Police Chief Wiles & the Grand Cops involved in this matter. Please call
me if you plan to assist ma citizen thats been violated by bribe taking police. Thanks agin, and | hope to hear from you
soon. Best Regards,
Delmond Marshall
Exhibit #11 June 1st, 2017 Letter to Grand Blanc Mayor about Investigation: Lawsuit

Delmond Marshall <8410mmg@gmail.com>
6/1/17

to mayor
Good Morning Mayor Mrs. Soderstrom,

Im Delmond Marshall. I'm from Flint and I’ve lived in Grand Blanc for 5 years. I'm s till very upset at my neighbor, his 2
workers, and the 5 Grand Blanc Police Officers that | had to go to the US Justice Department on for violating my Civil
rights. If Chief Wiles hasn't filled you in on whats going on, I'm forwarding you the last email that | sent him, Sgt
Fuerguson, and my idiot neighbor Mr. george. The officers in this case tried to cover an attempted break in at my home
done by 2 of Mr. georges workers. Please read the bogus police report from my case written up by Officer Harmer,
accepted by Det. Whittey, and tried to be covered up by Sgt. Fuerguson. These men suffer from a very bad case of "racial
Nepotism"that now has the Grand Blanc Township police department under investigation for the cowardly, classless acts
they did violating my rights and | will have to sue all guilty parties in this matter. I'm forwarding you the last email | sent
Chief Wiles on this matter May 5th of this year. lm unsure whether youve been notified about this situation by the Grand
Blanc Township Police officers or the Police Chief, so | felt its bad that i contact you on my own accord. I ask you to
review this email & check with the men mentioned in this matter . They've given Grand Blanc a black eye with lega! woes
to come by being lawless with their Badges, guns & in uniform. They tried to cover up the fact that 2 of mrs. georges
workers tried to break into my home, and destroyed my property, stole power tools & weed plants that | have my Michigan
MMP card to legally grow. The sad thing is jeremy or Joshua Warren ( unsure his real name because the Grand Blanc
Township Police Depart NEVER got their real names or filed the restaining order that | asked for the same day GB T
Police ILLEGALLY pulled me over) admitted that him and his brother inlaw did it, and for me not to go to the police, and to
work it out with mrs. george. I'm embarassed at the arrogance & "White Privilege” given these 2 thugs by Grand Blanc
Township Police. It says to me that 2 white boys can attempt to break into my home, destroy my property, admit they did
it, and the Grand Blanc Township Police Depart with their badges, guns & uniforms will protect them, cover for them. I'm
furious at how badly played this ordeal has been by Mrs. george and the police. | bad episode of Law & Order for sure. |
will be retaining a lawyer the moment the guilty are formally charged. | hate this situation happened, but like i told joshua,
like i told mr. george, Officer Harner, Ryhs, Det, whittey, Sgt. Fuerguson & Chief Wiles, !'m not letting this go because |
know If my neighbor accused & had proof | tried to break into their home, they wouldnt try to 'COVER IT” for me... They

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would lock my black ass up. It's ok for someone to be racist- thats their right- but their personal beliefs cannot interfere
with them doing their job in a public setting- |. E, a police officer. Just felt the need to share with you what happened to me
living in grand blanc, I'm saddened by this, but | refuse to move. Since | let the cops know that | went to the feds on this in
February, they don't hang out at mr. george's building so much and they no longer follow me when i leave my house.
Thanks for your time, and | will request that Grand Blanc Township Police start having racial compassion classes. Thanks
again,Delmond Marshall

FACT: Once | made the Mayor aware of the wrongdoing by her officers, she was supposed to call me and talk about
the matter, which she never did. And she was supposed to alert the Police Internal affairs on my behalf to investigate the
claims. Again, she did zero to clear up a hostile issue and therefore as Mayor, her illicit actions of ignoring the matter
makes her liable in this lawsuit as well.

Exhibit #12 My Citizens Compliant against Grand Blanc Township Police Officers. | wrote it up on the Criminal
Compliant form Just to see what it would look like since, there arent many Competent Prosecutors in the Michigan
Attorney General office in 2017 til 2019 with the ability to look past these officers white skin & look at them for their illegal
actions against me & my family. White Privilege is the only reason they dont have an official criminal charges filed yet.
Exhibit #13 August 7th, 2017 Letter from then Michigan Attomey General Bill "Shitty" Schuette, Again, Michigan Attorney
Generals office DO NOT know when someone's Criminal rights has been violated. I'm glad this clown LOST the Michigan
Governors race in 2018. He should be indicted for Misprison of A Felony & several other Federal charges for violating my
state & federal rights when it was his JOB. And Civil Rights Division Chief Ron Robinson in a "conspiracy" to go along
with the "white Privilege" thing that Bill Shitty Schuette is on, violated state & federal law, the MOJMENT he signed that
letter and put it in the mail to me.

Exhibit #14 August 17th 2017 Email Letter to Michigan Department of Civil Rights Executive Director Mr. Arbulu &
Customer Service Rep Mrs. Barbeet,

Exhibit #15 January 2018 Email to Michigan Department Civil Rights \

Please read and look at the pictures, Why is a Grand Blanc Township Police Car sitting outside my home? This is
Discrimination & harassment..

Exhibit #16 Email to Michigan Department of Civil Rights titled:

| also Emailed you all on January 21st 2018, Which means you all have to reopen investigation into them

| was told the investigation was closed on these corrupt cops before one was ever offrically opened by them. LMAO SMH
Exhibit #17 MDCR Finally starts a so called investigation into Grand Blanc Township Police. Follow Up,

Delmond Marshall <810mmg@gmail.com>
Wed, Sep 5, 2018, 8:17 AM

to Jarrett

to: Smith, Jarrett (MDCR)" <smithj44@michigan.gov>
Good Moring Mr. Smith,
Trying to see when we can speak this week. Has a ruling been made yet? Have they responded yet & when do | get my
official copies of the civil right compliant? Please let me know,
Thanks again,
DM

On Mon, Aug 20, 2018 at 9:04 AM Delmond Marshall <810mmg@gmail.com> wrote:

Good Morning Mr. Smith,
Sorry | | missed your call, | tried to call back the other day. This is my Official 1st Response to whatever we now have
logged on official record in my complaint against Grand Blanc Township Officers in this matter. I'd need for ALL of the
officers in this matter to answer the 13 questions in my response. Since 2016 up until today, my family & myself has been
subjected to continued & unwanted harassment & spying by "known & unknown" Grand Blanc Township Police Officers.
Let me know when | can get the official copies of their statements, & of this this investigation. Please email me & lets try
to set up a call for this week if you have time. Thanks again,
Delmon Marshall

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11. have any of you contacted Internal Affairs about your illegal actions in this case? 7

12. Your actions in this matter from September 2016, as it continues up onto today August 18th, 2018 as I'm writing this
response has been one long, non stop motion of violating my rights & harassment. Your "3 Stooges" routine mishandling
an official police investigation on "purpose", to ensure that the guilty goes free is unethical, illegal, & shows Racial
Discrimination, Police Misconduct, and you all being Terrorists to the United States Constitution for your illegal, in uniform
tactics while in police uniform & federal justice must catch you. Perjury is punishable by up to 5 years in federal prison. So
| ask each GB Township Police officer to answer this last question: What did Mr. George give you to make you want to
risk doing your job as police officers fairly in this matter? All of the officers behaviors & actions in this matter was less than

rofessional & standard Operating Procedure.
3, | need each officer to initial & name their names to the Standard Federal Rules & Procedure information concerning

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Police Misconduct.

13.A. Police misconduct can lead to a miscarriage of justice and sometimes involves discrimination and or illegal
motives of segregation combined as obstruction of justice. The statute known as Section 1983 is the primary civil rights
law victims of police misconduct can rely upon. This law was originally passed as part of the Civil Rights Act of 1871,
which was intended to curb oppressive conduct by government and private individuals participating in vigilante groups,
such as the Ku Klux Klan, Police officer or officers acting in ways unbecoming of a public servant. Police officers generally
have broad powers to carry out their duties , but the Constitution local, state & federal laws however, place limits on how
far police officers can go, whether on duty, or off. If its proven that an officers conduct or actions while in uniform violates
any two of the several criteria laid out in Section 1983, makes that officer & Police Department liable for: 1.
COMPENSATORY. Compensatory damages are generally the most identifiable and concrete type of damages. 2.
GENERAL. General damages. 3. PUNITIVE. Punitive damages are meant to punish a Defendant for particularly
egregious conduct under the 7th Amendment.
urder charges, but all charges were dropped when it emerged that the policemen had been drinking and had initiated the
incident, and when the prosecution's own witness testified that the gun one of the officers threatened Tupac with had
been seized in a drug bust and then stolen from an evidence locker.” My point being, cops do itlegal things while on duty
to or towards black men.

The Police Report- I'd like to start for the record that | have childhood friends & family that are Police officers that | told
about this situation. They all instructed me on how bad the Grand Blanc Township police violated my constitutional rights
& the countless misconduct charges these men commited. | can handle questioning by the Court in this matter because |
have zero to hide. Obviously, Mr. George & the cops in this chance have alot to hide. They tried their best to hide
evidence.

This Police report that Officer Brady Harner wrote up, and Detective Jason Whittey, Sgt. Mark and captain Ron Wiles
signed off on and gave me was BOGUS. Reasons the Police Report Sgt. mark gave me is BOGUS.

#1. All of the Grand Blanc Township Police Officers in this case PURPOSELY left out my Statement of Fact from October
7th, 2016! | emailed the same Statement of Fact to every Grand Township Police Officer | came in contact with, and ALL
of them IGNORED my statement & never turned tha evidence into the real DA, who is David Leyton of the Genesee
County Prosecutors office. So the police active in an ongoing investigation, PURPOSELY WITHHELD evidence,
tampered with evidence to keep the guilty free. That is a violation of state & federal law.

#2. On bugus police report that Sgt. markus left for me, American Terrorist Officer Brady Harner wrote that | BELIEVE Mr.
george's workers vandalized my home.

Please reread my Statement of Fact! | never told that cocksucker Officer Harner that | BELIEVE they DID IT! | told Officer
Harner, Ryhs, Det. Whittey , Sgt. mark & Chief of Police Ron that Joshua Warren TOLD ME HE DID IT! Why did
American born Terrorist to the US Constitution LIE like that?Why did

Officer Harner write that Bold Face lie in his report? | will tell you why...

Both of Mr. george's workers are Ex Con, recovering addicts. Running their correct name through the Michigan Otis
system, it would've sent an alert to their STATE probation officers, because BOTH of mr. george's workers are felons. So
mrs. george made sure to tell his American Terrorist cop friends to write in False information to keep the conspiracy going
& keep his "Criminal workers" safe to go and break in other Black people homes so the Crooked Grand Blanc Township
Police officers can run more culvert operations to make sure these bastrds NEVER have to face up for their crimes. The
benefit'of being White & all to break laws with the police officers consent. The American public need to know that while
most cops are law abiding, fair and just to all that they come in contact with, their are jerks that disrespect & violate the
Uniform for their own petty, racist reasons, like the American Terrorists Officer Ryhs, Harner, Det. Whittey, Sgt. Marcus &
Chief Ron has shown to be in this matter.

#3, Joshua Warren's number on Police report is different than the one, dumb ass Mr. George first gave me. Again, this
change in Telephone number was Mr. george instructed his American Terrorist Police friends to tamper with the facts to
make sure his guys stay free.

#4 There was NO MENTION of the video tape in Officer Harners report, he’s a PUNK ass American Terrorist Cop.

#5 Officers Rhys, Officer Harner, nor Det.. Whittey, Sgt. marcus of Chief ron ever did the Restraining orders on Mr.
George's 2 workers like | asked for. | can tell the court why they didn't do it. Giving me their names & writing up that report
would've alerted their State Probation Officers. The Crooked Grand Blanc Police Officers had to protect the guilty, so they
couldn't give me a restraining order, again violating my state & federal rights.

#6 Isn't it strange thst mr. George called his corrupt COP friends on me, but he didn't give Grand Bland Township police
his workers real names, just like he didn't give their names to me. Isnt that peculiar? Why is that? Thst is proof of favor &

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biasness by him... and followed by the cops.

"The fact that several top Grand Blanc Township Police officers signed off on this bogus police report proves they were in
on the conspiracy to violate my human & civil rights. The very definition of Conspiracy conspiracy;

a secret plan by a group to do something unlawful or harmful. What mr. george and the Grand Blanc Township Police
officers in this case did was alot of things VERY UNLAWFUL, and very HARMFUL to me, and they must be brought up on
charges for there illegal, and terroristic acts that they planned & executed against me in direct opposition to United States
Constitutional Law.

July 15th, 2017, | sent the following letter to genessee County Prosecutor David Leyton,

Greetings Gennesse County Prosecutor Mr. Leyton,

It's Delmond Marshall again. | waited to touch bases with you concerning the obstruction of justice charges that should
be levied against the 5 Grand Blanc Township Police Officers that violated my Constitutional rights & continue to do so. |
read the article about the 5 guys that did the home invasion in Flint recently. The article stated, you said that, “the facts in
this case are everybody's worst nightmare & something nobody ever wants to face", end qoute. | totally agree with you on
that Sir. Let's apply your words to my situation where | have 2 white boys that broke lock and gate to enter my backyard,
stole plants and tools and tried to do a home invasion- and the police write fake names on police report to cover for them
at the behest of rich white man Mr. Nick George,owner of Nick George properties 8313 Holly Rd, Grand Blanc, Ml 48439
(810) 695-7500

I'm alerting you to this situation again. I've written Gennessee Sheriff Pickell about this matter as well. I'm sure these men
are your friends from working, but they violated state & federal law and | want them indicted for it. | wanted to alert your
office that I've contacted the US Department of Civil Rights about these gross civil & constitutional violations & the police
corruption tactics done to me by Grand Blanc Township Police Department , that has stressed out my family. Grand
Blanc, Michigan is 95% White, and we are black, so | can't help but think what happened is racially motivated. | cant help
but think the Feds need to launch an investigation into Mr. George and his connections to cops tohat would lie and cover
for his ex con workers. And any minority pulled by Grand Blanc Township Police the last 5 years. If these men would
purposely "LIE’ writing my report, and trying to "Muscle me" to drop it and they KNOW his guys tried to break into my
home, they must be corrupt. If they found gdrugs on a black guy or female, who's to say that they didn't plant it, if they'd
purposely try to "HIDE" evidence among themselves??? | mean this is a messy headline, ‘Several Grand Blanc Township
cops indicted for trying to cover the home burgalry of 2 ex cons that work for a friend of the Police Chief*.. These men
searched my home unwarranted and they also wrote up a bogus police report trying to protect the 2 white ex cons that
work for mr. goerge- all done in a conspiracy form, by men sworn to protect and upkeep the law fairly- which this men did
not. | was illegally pulled over and excessively questioned and basically told to drop my intent to press charges aginst Mr.
georges men because Bill Delzar (who is NOT the prosector) said there wasnt enough evidence to indict. smh lol Sick of
their bullshit, | contacted several! branches of the FBI Public corruptions Unit, & recently the US Assistant General Mr.
Perez trying to get help & assistance in this matter. Being that this men are still officers and have friends that are officers
that can pull me over, storm my home and try to kill me and my family, what is the US Attorney prepared to day to protect
my civil and Constitutional rights violated by the very people that is supposed to uphold and protect them? Because of
this matter and issue, | need your office to clear me to legally have handguns again. | have a right to protect my life from
terrorists- both foreign & domestic. Crooked cops in this matter, in my eyes, are American Terrorists” because cops can
kill black men like me and it's ok (Minnesota) other places. SMH I'm a grandfather being treated like an 17 year old black
dummy. My family and my parents worry about me driving home to Grand Blanc where those racist cops have a gun,
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don't know what to do. !'ve written Genessee Sheriff Pickell about this matter, and no response. | wrote Gennessee
Prosecutor David Leytons office, and they called and werent to helpful, gave no no legal advice because they are friends
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letter that | sent on Friday to Grand Blanc Mayor, Police Chief Wiles & the Grand Cops involved in this matter. Please call
me if you plan to assist ma citizen thats been violated by bribe taking police. Thanks aagin, and | hope to hear from you
soon. Best Regards,

Delmond Marshall

It's August 10th, 2017, and | have NOT heard from Prosecutor Mr. Leyton. He has strong words when Black guys do
wrong, but he has no words for me about the American Terrorist cops or the 2 white guys the Grand Blanc Cops Is
protecting. Not hearing back from Mr. Leyton or Sheriff Pickel show's me that they are ok with Crooked cops doing
whatever they want.

These Grand Blanc cops are guilty of Discrimination. Discrimination is 1.the unjust or prejudicial treatment of different
categories of people or things, especially on the grounds of race, age, or sex.It's plan to see that all these men violated
my rights because I'm Moorish American, Black, and that is against the law. This ordeal has me suffering from Severe
emotional distress is emotional distress of such substantial quantity or enduring quality that no reasonable person in a
civilized society should be expected to endure it.

What American citizen has to deal with American Terrorist Crooked Cops trying to cover for 2 Ex cons trying to break into
someone's house. What the Grand Blanc Township Police did to me violates all morales of Decency & class that | once
knew. This situation has caused me severe Migraines due to the Extreme & outrageous conduct of Grand Blanc Township
Police & Mr. george bitch ass. | have to leave home early, stay gone and shoot home to make sure there's no crosses

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burning in my yard. Or my house on fire. My kids or grandkids killed. | can't call on the cops where | live because they the
ones I've had to deal with are crooked.

The Federal courts have ruled that Police officers are liable if their actions or officer's conduct was outrageous & done
with the virtual certainty that emotional distress or unwarranted pain or discomfort would result from It, and the Police
officers are liable. Thomas Vs. Fredrick, 766 F.Supp. 540 (W.D. LA.1991)

The Grand Blanc Township Police officers RYhs, Officer Harner, Det. Whittey, Sgt. Fuerguson & Chief Ron are all guilty of
illegal, outrageous actions against me & my property. i'm shown that the Officers in this case actions were Premediatated,
extreme & outrageous acts while in Police Uniform and therefore makes the city of Grand Blanc by which they are
employed by, liable for the illegal, illcit actions of the cops named in this compliant/Lawsuit. Police Conduct is extreme &
outrageous when it goes beyond all possible bounds of decency: it is behavior that society won't tolerate.

Since this bullshit Mr. George & the American born Terrorist cops has done to me, | am leery of GB township police
cars. | Cringe when | see any of them bc they remind me how corrupt cops can be, and it goes unchecked. This is the
double sets of rules that BM always said existed but can't prove bc of how other crooked cops cover for other crooked
cops and the truth gets lost in tampered, bogus police reports written by lawless, classless, men. I'd love to question
these American Terrorists, these "bitches with badges in a court of law. | hope for a jury trial so the American public can
see how unjust, demonic, crooked, lawless & doers of evil against the United States Constitution and a discredit to every
great cop that ever put on a uniform. I'd enjoy calling Gennessee Prosecutor as a witness to help jurors understand the
law, and what cops can & can not do, according to the law as he enforces it. This would be a great case to show the
American Public what White Privilege looks like. By definition, White privilege (or white skin privilege) is a term for societal
privileges that benefit people identified as white in Western countries, beyond what is commonly experienced by non-
white people under the same social, political, or economic circumstances. Academic perspectives such as critical race
theory and whiteness studies use the concept of "white privilege" to analyze how racism and racialized societies affect the
lives of white or white-skinned peop!e. The effects can be seen in professional, educational, and personai contexts. The
concept of white privilege also implies the right to assume the universality of one's own experiences, marking others as
different or exceptional while perceiving oneself as normal.[2][3] end quote. These men of the so called law violated my
Civil, Constitutional & Human rights by their Ilicit actions against the law that they are sworm to uphold. These so called
men proved that they are bigots & corrupt and racist, and their actions warrant all of them to be charged with hate crimes
for their conspiratorial, evil, evidence tampering, gross obstruction of Justice. Because the cops where | live is crooked &
lawless, I'm asking the Federal Court to REINSTATE my right to legally carry handguns again As Soon As Possible, due
to the racial ignorance of the crooked American Terrorist cops that work where | live. In light of the evidence in this
complaint-lawsuit, | ask the Court to call me on this issue upon receiving this motion. Grand Blanc Township Police
Officers Invoived in this case need to be reported for POLICE CORRUPTION & Federal Civil Rights Violations to the US
Department of Justice Civil Rights & Hate Crimes division for their gross violations. There need to be an internal affairs
investigation into Chief of Police Ron Wiles & his connection to mr. nick george. If Mr. George is contributing to Mr. Wiles
campaigns for White Privelage benefits he's been able to enjoy thus far, then that is a violation of FBI Public Corruptions
memorandum & needs to look into further. Current US District Attomey Matthew Schneider called Michigan the Most
Corrupt. He ought to know He's one of them. These Grand Blanc cops are guilty of Discrimination. Discrimination is

1.the unjust or prejudicial treatment of different categories of people or things, especially on the grounds of race, age, or
sex.it's plan to see that all these men violated my rights because I'm Moorish American, Black, and that is against the

law. This ordeal has me suffering from Severe emotional distress is emotional distress of such substantial quantity or
enduring quality that no reasonable person in a civilized society should be expected to endure it.
What American citizen has to deal with American Terrorist Crooked Cops trying to cover for 2 Ex cons trying to break into
someone's house. What the Grand Blanc Township Police did to me violates all morales of Decency & class that | once
knew. This situation has caused me severe Migraines due to the Extreme & outrageous conduct of Grand Blanc Township
Police & Mr. george bitch ass. | have to leave home early, stay gone and shoot home to make sure there's no crosses
burning in my yard. Or my house on fire. My kids or grandkids killed. | can't call on the cops where | live because they the
ones I've had to deal with are crooked.
The Federal courts have ruled that Police officers are liable if their actions or officer's conduct was outrageous & done
with the virtual certainty that emotional distress or unwarranted pain or discomfort would result from it, and the Police
officers!are liable. Thomas Vs. Fredrick, 766 F.Supp. 540 (W.D. LA.1991)
The Grand Blanc Township Police officers RYhs, Officer Harner, Det. Whittey, Sgt. Fuerguson & Chief Ron are all guilty of
illegal, outrageous actions against me & my property. i'm shown that the Officers in this case actions were Premediatated,
extreme & outrageous acts while in Police Uniform and therefore makes the city of Grand Blanc by which they are
employed by, liable for the illegal, illcit actions of the cops named in this compliantLawsuit. Police Conduct is extreme &
outrageous when it goes beyond all possible bounds of decency: it is behavior that society won't tolerate.

Since this bullshit Mr. George & the American born Terrorist cops has done to me, | am leery of G8 township police
cars. | Cringe when | see any of them bc they remind me how corrupt cops can be, and it goes unchecked. This is the
double sets of rules that BM always said existed but can't prove bc of how other crooked cops cover for other crooked
cops and the truth gets lost in tampered, bogus police reports written by lawless, classless, men. I'd love to question
these American Terrorists, these "bitches with badges in a court of law. | hope for a jury trial so the American public can
see how unjust, demonic, crooked, lawless & doers of evil against the United States Constitution and a discredit to every
great cop that ever put on a uniform. I'd enjoy calling Gennessee Prosecutor as a witness to help jurors understand the
law, and what cops can & can not do, according to the law as he enforces It. This would be a great case to show the —
American Public what White Privilege looks like. By definition, White privilege (or white skin privilege) isa term for societal
privileges that benefit people identified as white in Western countries, beyond what is commonly experienced by non-

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white people under the same social, political, or economic circumstances. Academic perspectives such as critical race

theory and whiteness studies use the concept of "white privilege” to analyze how racism and racialized societies affect the

lives of white or white-skinned people. The effects can be seen in professional, educational, and personal contexts. The

concept of white privilege also implies the right to assume the universality of one's own experiences, marking others as
different or exceptional while percelving oneself as normal.[2][3] end quote.

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all of them to be charged with hate crimes for their conspiratorial, evil, evidence tampering, gross obstruction of Justice

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Grand Blanc Township Police Officers Involved in this case need to be reported for POLICE CORRUPTION & Federal

Civil Rights Violations to the US Department of Justice Civil Rights & Hate Crimes division for their gross violations. There

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George is contributing to Mr. Wiles campaigns for White Privelage benefits he's been able to enjoy thus far, then that is a

violation of FBI Public Corruptions memorandum & needs to look into further. Lastly, For all the reasons listed in this
lawsuit, |, Delmond Marshall,including in this motion is a lawsuit where | am the collective listed in this lawsuit for 1
Billion, 831 Million Dollars due to high the corruption & lack of moral compass & racism.

Since mr. George Is the ringleader of the conspiracy, | ask the federal courts to make his business & his estate be 37%

responsible for whatever settlement | obtain, the city of GB 43%, the cops as a collective 20% each if found negligent of

violating my rights in this case. | ask the court to allow my legal counsel once | decide on an attorney to represent me in
this matter. I'm sure a seasoned lawyer could take the evidence & facts in this case and do a much better job then | to
convince the court how heinous and evil these so called men are in this case. | thank this court for the opportunity to
present clear, evidence of wrongdoing by police in a planned culvert unit and thus makes the city of Grand Blanc & the
Grand Blanc Police Department as a whole negligent & therefore liable for the damages & harm they have caused my

family and now they have to pay for it, ! look for to speaking to a Judge about my Gun rights being reinstated. | thank the
court for it's time & look forward to a response from the American Terrorists of Grand Blanc Township Police. And for the

record, | must admit to the court that | looked at the evidence, a little case law, and typed this entire motion to sue these

evil, crooked men for their conspiracy filled assault on the US Constitution while legally medicating thanks to my Michigan
MMP card with Permafrost strain. One of the 8 those two crackheads that work for Mr. george and protected by the police

stole out of my yard after they broke into my backyard. lol, Cannabis is a great stimulant me for organizing my thoughts.
My gate still hang off the hinges how those trailer trash workers of mr. george left it. | cant wait to meet All of these
American terrorists in a real court of law. | ask the court to understand why I only sent in 3 copies of everthing for this
lawsuit. | sent one for the court, one for mrs. george, and one for all of the crooked cops to use together. | await the
courts response. Thank you,
Delmond Marshall,

Pro Se,

hh J
Yah

f;

  

 

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